Case 1:21-cr-00628-ABJ Document 25-2 Filed 01/13/22 Page 1 of 3




                      Exhibit 2
                   Case 1:21-cr-00628-ABJ Document 25-2 Filed 01/13/22 Page 2 of 3


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ATTORNEYS AT LAW



                                                                                            December 13, 2021

        VIA EMAIL
        Molly Gaston, Esq.
        Mary Dohrmann, Esq.
        United States Attorney’s Office
        555 4th Street, NW
        Washington, DC 20530

                 Re:      United States v. Michael Angelo Riley, 21-cr-628-ABJ

        Dear Counsel:

               We write in response to certain representations contained in your letter dated December 8,
        2021 and for clarification on the Government’s prosecution of Jacob Hiles (21-cr-155 (ABJ)).

                 As a preliminary matter, you advised us on December 1, 2021 (in writing) that we should
        obtain the Hiles sentencing memoranda through the “CM/ECF docket.” Those documents are no
        longer on the public docket and there is no reference to what occurred at Mr. Hiles’ sentencing on
        December 6, 2021. There is no public docket entry and Mr. Riley (and his counsel) were unable to
        observe Mr. Hiles’ sentencing through the public telephone line. During our meeting on November
        23, 2021, we inquired as to whether Mr. Hiles was a cooperator and you indicated that he was not.
        In the Government’s sentencing memoranda for Mr. Hiles, the Government advocated for a
        sentence of probation based on Mr. Hiles’ purported “exceptional cooperation.” Is Mr. Hiles a
        cooperator or not? Is this matter partially sealed or not, and why? What sentence did Mr. Hiles
        receive? We ask for a copy of all court filings relating to the partial sealing of this matter. In order
        for the Government to meet its discovery obligations, we also ask for a copy of the transcript from
        Mr. Hiles’ sentencing or an Order permitting us to obtain a copy of the sealed transcript and a copy
        of the Judgment & Commitment Order. We do not understand why the sentencing memoranda were
        initially publicly available (for Politico to publish an article about them) and then eventually placed
        under seal only when we asked you for copies of them. In fact, while initially inviting us to obtain
        the sentencing memoranda from the public docket on December 1, 2021, you are now claiming that
        you are “seeking leave to provide [us] with the sentencing memoranda,” apparently because they
        were placed under seal retroactively. The Government cannot seek to put the genie back in the
        bottle because it does not want to highlight the benefits provided to Mr. Hiles in his case.

               Again, we iterate our request for discovery produced in the Hiles matter, as it appears,
        contrary to your prior statement, Mr. Hiles was, and is, a Government cooperator. If the
        Government does not plan to call Mr. Hiles as a witness at any trial of Officer Riley, please advise
        us in writing by December 17, 2021.
         Case 1:21-cr-00628-ABJ Document 25-2 Filed 01/13/22 Page 3 of 3

Page 2



        Finally, please advise us when the “official proceeding” referenced in the Indictment
occurred. If you believe you are not required to provide us discovery on this fact, while at the same
time alleging that Officer Riley obstructed an official proceeding, we ask that you consult the
Appellate Section of your Office. If no special proceeding (i.e., grand jury investigation) was
commenced by January 7, 2021 — the date Count One of the Indictment allegedly occurred —
and/or no notice was provided to Officer Riley or the Capitol Police prior to that date, it is
impossible that Officer Riley knew of the official proceeding to allegedly obstruct it. Likewise, if
you are attempting to rely on Officer Riley’s experience as a law enforcement officer in that he
should have known that a grand jury had already (or was going to be) commenced as to Mr. Hiles,
we request the production of documents attesting to the long history of prior cases of unlawful entry
on U.S. Capitol grounds and the U.S. Supreme Court that have resulted in fines or at worst,
misdemeanor offenses, as was the case of Mr. Hiles, all of which are not the subject of grand jury
investigations (or “special proceedings”).

        We look forward to your response to these issues in advance of the status hearing that is
currently scheduled for January 14, 2021. As you can imagine, the ambiguity and lack of clarity on
these issues (and the apparently conflicting positions) prevents us from being able to evaluate the
accuracy of the Government’s representations in its proposed statement of facts underlying the
Government’s plea offer and to prepare for any potential trial in this matter.

                                        Sincerely,

                                        SILVERMAN THOMPSON SLUTKIN & WHITE LLC




                                        Andrew C. White, Esq.
                                        Christopher Macchiaroli, Esq.
                                        M. Evan Corcoran, Esq.

                                        Counsel for Michael Angelo Riley
